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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE

    BRIDGET PARKER,                                       )
                                                          )
                              Plaintiff,                  )
                                                          )
    v.                                                    ) Docket no. 2:17-CV-216-GZS
                                                          )
    JOSH DALL-LEIGHTON, et al.,                           )
                                                          )
                                                          )
                              Defendants.                 )


           ORDER ON DEFENDANT RENEE SHANKS’S MOTION FOR SUMMARY
         JUDGMENT ON PLAINTIFF’S CLAIMS FOR NEGLIGENCE AND NEGLIGENT
                      INFLICTION OF EMOTIONAL DISTRESS


           Before the Court is Defendant Renee Shanks’s Motion for Summary Judgment on

Plaintiff’s Claims of Negligence and Negligent Infliction of Emotional Distress (ECF No. 87). For

the following reasons, the Motion is GRANTED.



           I.       FACTUAL BACKGROUND

           For purposes of Defendant’s Motion, the parties have stipulated to the following facts (see

Stipulation of Uncontested Facts (ECF No. 93)):

            Plaintiff Bridget Parker1 was an inmate of the Maine Department of Corrections from

approximately January 2012 through July 19, 2016. Parker was transferred to the Southern Maine

Re-entry Center in Alfred, Maine, in September 2014. While Parker was an inmate at the Re-entry

Center, Defendants Joshua Dall-Leighton and Renee Shanks were both corrections officers at the

facility. Parker claims that Dall-Leighton sexually assaulted her on five different occasions during



1
    The Court notes that Plaintiff’s given name is occasionally spelled “Bridgett” in the summary judgment record.
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her time at the Re-entry Center, with the first occasion occurring on December 10, 2015, and the

last on February 3, 2016. Parker claims that she first told Shanks about the sexual contact between

her and Dall-Leighton in a conversation towards the end of December 2015, and discussed the

ensuing sexual incidents with Shanks. Parker consumed alcohol on March 31, 2016, was reported

by Shanks, and was thereafter sent from the Re-entry Center to the Windham Correctional Center.

While at Windham, Parker disclosed to another inmate that she had been sexually assaulted and

this other inmate reported it to the authorities. On May 26, 2016, Parker spoke with Department

of Corrections Investigator David Verrier about the sexual incidents with Dall-Leighton.

         On or about June 22, 2016, Parker sent several notices of claim regarding the sexual

assaults to Dall-Leighton, several high-ranking officials with the Department of Corrections, and

the Maine Attorney General. Parker also sent notices of claim to a “John Doe” and a “Jane Doe.”

The “Jane Doe” notice is dated June 22, 2016, and addressed to “Jane Doe, Employee of Maine

Department of Corrections” at “Maine Correctional Center, 17 Mallison Falls Road, Windham,

Maine 04062.” (ECF No. 93-6, PageID # 603).2 In the section of the notice titled “Basis of Claim,”

Parker described her sexual contact with Dall-Leighton and stated, “On information and belief, at

least one other employee of the Department of Corrections knew that . . . Dall-Leighton was having

an illegal sexual relationship with the Claimant.” (Id.) A footnote to the notice states:

         Due to lack of secure attorney-client communications, as well as the fact that . . .
         Parker previously wrote confidential letters to [her attorney], which were
         confiscated by prison staff, prior to being mailed out, which . . . Parker believes
         were opened and read, she does not feel confident in fully communicating with [her
         attorney] via mail or phone. Therefore, some essential names have not been able
         to be provided, but this notice will be amended appropriately when the additional
         information has been obtained.



2
 Not all of the notices are clearly dated, but the parties have stipulated that the notice to “Jane Doe” was dated June
22, 2016.



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(Id.) The “at least one other employee” language and the footnote are included in all of the notices

of claim.

         Parker did not allege to authorities with the Department of Corrections that she had told

Shanks about the sexual incidents until she was released from custody on or about July 19, 2016.3

Parker claims she did not name Shanks until she was released from custody because “(a)fter the

investigation with Dall[-Leighton] and the emotional turmoil that caused, along with the fact that

[Shanks] is a really well-liked [corrections officer] at the re-entry center, (Parker) was just fearful

of what the other guards and/or inmates might do if (Parker) caused more of . . . an uproar in the

facility. (Parker) wanted to let them know, but [she] was just scared to do it.” (Stipulation of

Uncontested Facts ¶ 14, PageID # 568.) None of the notices of claim were ever amended in writing

to name Shanks.

         On August 26, 2016, counsel for Parker sent Investigator Verrier an affidavit by Parker in

which she detailed her allegations that she told Shanks about the sexual assaults and that Shanks

did not take action to report or actively prevent them. The Complaint in this matter naming Shanks

was filed with this Court on June 14, 2017.




3
  The Court notes that it is not entirely clear whether or not the parties intended to stipulate that Parker orally informed
corrections authorities about her allegations against Shanks around the time that she was released from custody in July
2016. Compare Stipulation of Uncontested Facts (ECF No. 93) ¶ 10, PageID # 568 (“That Parker did not disclose to
the authorities with the Department of Corrections that she allegedly told Shanks about this sex between her and
Dall[-Leighton] until Parker was released from custody on or about July 19, 2016”) with Def.’s Resp. to Pl.’s Add’l
Statement of Uncontested Facts (ECF No. 97) ¶ 4, PageID # 650 (“The Defendant . . . admits . . . that David Verrier,
an investigator with the Maine Department of Corrections, was the first person to receive any notice that Bridget
Parker was alleging wrongdoing by Renee Shanks, and that claim was first made on August 26, 20[16] when the
Bridget Parker Affidavit was sent to David Verrier”). Drawing all reasonable inferences in favor of Parker, the non-
moving party, the Court accepts that Parker orally informed corrections authorities about her allegations regarding
Shanks on or about the date of her release.



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         II.      DISCUSSION
         A party is entitled to summary judgment if, on the record before the court, it appears “that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). In this case, there are no material factual disputes at issue.

The Court must only consider whether Defendant is entitled to judgment as a matter of law.

         The Maine Tort Claims Act (“MTCA”), 14 M.R.S.A. §§ 8101-8118, which governs tort

suits against the State of Maine and its employees, provides,

         1. Notice requirements for filing. Within 180 days after any claim or cause of action
         permitted by this chapter accrues, or at a later time within the limits of section 8110, when
         a claimant shows good cause why notice could not have reasonably been filed within the
         180-day limit, a claimant or a claimant’s personal representative or attorney shall file a
         written notice containing:

                  A. The name and address of the claimant, and the name and address of the
                  claimant’s attorney or other representative, if any;

                  B. A concise statement of the basis of the claim, including the date, time, place and
                  circumstances of the act, omission or occurrence complained of;

                  C. The name and address of any governmental employee involved, if known;

                  D. A concise statement of the nature and extent of the injury claimed to have been
                  suffered; and

                  E. A statement of the amount of monetary damages claimed.

14 M.R.S.A. § 8107(1). The Act further provides that “[i]f the claim is against the State or an

employee thereof, copies of the notice shall be addressed to and filed with the state department,

board, agency, commission or authority whose act or omission is said to have caused the injury

and the Attorney General.” Id. § 8107(3)(A).4 Finally, the Act provides,


4
 For purposes of the Maine Tort Claims Act, “‘State’ means the State of Maine or any office, department, agency,
authority, commission, board, institution, hospital or other instrumentality of the State . . . .” 14 M.R.S.A. § 8102(4).



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         4. Substantial notice compliance required. No claim or action shall be commenced
         against a governmental entity or employee in the Superior Court unless the foregoing notice
         provisions are substantially complied with. A claim filed under this section shall not be
         held invalid or insufficient by reason of an inaccuracy in stating the time, place, nature or
         cause of the claim, or otherwise, unless it is shown that the governmental entity was in fact
         prejudiced thereby.

Id. § 8107(4). “[F]ailure to comply with the notice provision bars the claim, unless (1) the errors

in a plaintiff’s notice constitute mere inaccuracies, and (2) the governmental entity is unable to

show prejudice.” Deschenes v. City of Sanford, 137 A.3d 198, 202 (Me. 2016) (internal citation

and quotation marks omitted). Written notice is always required; “a person cannot substantially

comply with the notice requirement of the [MTCA] without filing some type of written notice

within 180 days after a claim accrues.” Id. at 199; see also Erickson v. State, 444 A.2d 345, 349

(Me. 1982) (“[T]he substantial compliance exception is applicable only when the 180-day

requirement of § 8107(1) is satisfied.”)                      “The general test for determining when

a cause of action accrues is        when     a    plaintiff     received     a judicially recognizable injury.”5

McLaughlin v. Superintending Sch. Comm. Of Lincolnville, 832 A.2d 782, 788 (Me. 2003)

(quotation marks omitted).

         Plaintiff has brought claims against Shanks based on her alleged failure to stop the sexual

assaults by Dall-Leighton after Plaintiff told Shanks about the assaults. Under the MTCA, Plaintiff

was required to provide proper written notice of her state tort claims against Shanks within 180

days of their accrual. Putting aside the issue of when Plaintiff’s claims against Shanks precisely

accrued, the undisputed facts demonstrate that Plaintiff never provided anything even

approximating substantial compliance with the MTCA’s notice requirements. Her initial notices

of claim filed around June 22, 2016, did not comply with the notice requirement in that they (1)


5
 To the extent there may be a “discovery rule” applicable to the Maine Tort Claims Act, see, e.g., Springer v. Seaman,
662 F. Supp. 229, 230 (D. Me. 1987), such a rule is not implicated in this case.



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did not name Shanks even though Plaintiff knew her identity and (2) did not adequately provide

notice that Plaintiff was bringing any claim against a corrections officer for negligently failing to

stop Dall-Leighton’s sexual assaults. See 14 M.R.S.A. § 8107(1)(B), (C), (D).

         Plaintiff contends that the June 22 notices were “supplemented” by her subsequent

provision of the affidavit to Investigator Verrier on August 26, 2016, in which she details her

allegations against Shanks.6 However, on this record, this Court cannot conclude that the affidavit

constituted adequate notice because there is no evidence that it was received by the Attorney

General and “an official [within the Department of Corrections] having authority to deal with

[P]laintiff’s claim or [an] official . . . charged with the duty of transmitting the notice to the proper

officials.”7 Faucher v. City of Auburn, 465 A.2d 1120, 1123 (Me. 1983); see also Palm v. Sisters

of Charity Health, Sys., 537 F. Supp. 2d 228, 232 (D. Me. 2008); McCarthy v. Inhabitants of Town

of Kennebunkport, 366 F. Supp. 2d 165, 168 (D. Me. 2005); Pepperman v. Barrett, 661 A.2d 1124,

1126 (Me. 1995). Even if it was theoretically possible for two inadequate attempts at providing

notice to collectively provide adequate notice, on this record, the Court cannot conclude that the

proper officials were provided notice that Plaintiff was bringing claims against Shanks related to

the sexual assaults by Dall-Leighton. Further, although the Court does not consider the precise

date of accrual to be dispositive, the Court notes that Plaintiff’s claims against Shanks may have

accrued by February 3, 2016, the date of the last sexual assault of Plaintiff by Dall-Leighton. If


6
 The Court does not accept, and Plaintiff has provided no precedential support for, the contention that Shanks does
not have “standing” to raise the notice issue. In fact, courts have frequently dismissed claims against state or local
government employees based on a failure to provide proper notification to the parties identified in § 8107(3). See, e.g.,
Long v. Abbott, No. 2:15-CV-00291-JAW, 2017 WL 829145, at *29 (D. Me. Mar. 1, 2017); Pew v. Scopino, 904 F.
Supp. 18, 32-33 (D. Me. 1995); Hinkley v. Penobscot Valley Hosp., 794 A.2d 643, 647 (Me. 2002); Pepperman v.
Barrett, 661 A.2d 1124, 1126 (Me. 1995).
7
  Although the Law Court has held that “a notice that was sufficient in all other respects would substantially comply
with the statute even if it was served on the real party in interest instead of the official designated by the statute to
receive notice,” Pepperman, 661 A.2d at 1126 n.2, that holding has no bearing on this case because there is no evidence
that the August 2016 affidavit was served on Shanks.


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February 3, 2016, is considered the accrual date, the August 26, 2016 disclosure to the investigator

falls outside the 180-day notice period regardless of its adequacy.



       III.    CONCLUSION
       Because Plaintiff did not comply with the notice provisions of the MTCA regarding her

state tort claims against Defendant Shanks, the Court GRANTS Defendant’s Motion for Summary

Judgment.     The Negligence and Negligent Infliction of Emotional Distress Claims against

Defendant Shanks are DISMISSED with prejudice. Plaintiff’s Eighth Amendment claim for

deliberate indifference pursuant to 42 U.S.C. § 1983 is the sole remaining claim for trial against

Defendant Shanks.

       SO ORDERED.

                                                     /s/ George Z. Singal
                                                     United States District Judge

Dated this 29th day of June, 2018.




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